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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
             V.                                   Criminal   Case No. 1:18-cr-28 (EGS)



JARRELL HARRIS
       Defendant.


                  GOVF"RNMENT'S MEMORANDUM IN AID OF' SENTENCING

       The United States, by and through its attorney, the United States Attomey for the District

of Columbia, hereby submits   the following     memorandum      in   support   of its request   and

recommendation that the Court sentence the defendant, Jarrell Harris, to 24 months ofincarceration

for Counts One and Two of the Indictment and to 30 months of incarceration for Count Four of

the Indictment. Count One charged Escape, in violation of Title 18, United States Code, Section

751(a). Count Two charged Unlawful Possession of a Firearm and Ammunition by a Person

Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year, in violation

of Title 18, United    States Code, Section   922(g)(l). Count Four       charged Fleeing   a   Law

Enforcement Office, in violation of Title 50, District of Columbia Code, Section 2201.05(b)(2).

                          FACTUAL AND PROCEDURAL BACKGROUND

       The relevant facts underlying the charge in this case are as follows:

       On June 15,2017, the defendant, who was incarcerated at the Hazelton FCI in West

Virginia after being convicted and sentenced for Assault with a Dangerous Weapon, applied for a

furlough transfer to a Residential Reentry Center. The defendant signed an agreement stating that

he understood the rules, including that
                                          *If I fail to remain within   the extended limits of this
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confinement,      it shatl be deemed an escape." On     September 19,2017, the defendant departed

Hazelton for Hope Village and, upon this arrival at Hope Village, the defendant signed an

"Acknowledgement of Receipt of Resident Rules and Regulations, Terms and Conditions."

         On November 5,2017, the defendant was seen by a Hope Village supervisor getting into

the driver's seat   ofa black two-door Mercedes CLK 300 convertible. The supervisor              said to the

defendant, "You don't have permission to drive, didn't you read the handbook?" The defendant

replied,   "F--   the handbook" and drove   off.   The defendant eventually retumed to Hope Village

that   day.   However, three days later, on November 8, 2017, the defendant walked into                   a


supervisor's office canying all ofhis belongings and announced,           "I'm out ofhere."   The defendant

then departed Hope Village. After attempts to locate the defendant failed, a warrant was issued

for his arrest for escape.

         On January 11, 2018, officers in Prince George's County, Maryland, attempted to stop a

black two-door Mercedes CLK 300 convertible driven by the defendant in reference to a robbery

that had just occurred. The defendant did not stop and, instead, he fled from the marked police

cruisers; the police cars had their emergency tights and sirens activated. The defendant drove

recklessly and at a high rate ofspeed: the defendant ran several red lights, drove into the incoming

traffic (crossing the double yellow line), tumed left from the right lane of traffic (nearly striking

cars in the right tum lane), swerved in and out     oltraffic,   made illegal U-tums, sped through two

parking lots, and ran at least eight stop signs. The entire vehicle pursuit was captured on the dash

cam    ofthe Prince George's County Police ('PGPD) squad           car.

         Upon entering the 3100 block of Bruce Place, Southeast, the defendant jumped out ofthe

Mercedes and ran into the woods. Officers, both from PGPD and MPD, chased the defendant into

the woods on foot. The defendant became entangled in the underbrush and                fell.   The offrcers
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handcuffed the defendant and helped him stand       up. On the ground directly under the defendant

was a .357 revolver. The revolver was loaded wilh six rounds of ammunition. The defendant

walked to the street, and while he was sitting on the curb, an MPD officer asked him for some

biographical information in order to    fill out the arrest paperwork. When   the officer asked for his

address, the defendant said,   "l ain't gonna lie to you, I ran away from   the halfiray house." Prior

to being placed in a transport vehicle, officers searched the defendant's pockets and discovered

two speed loaders that were are loaded with an additional 11 rounds of .357 ammunition.

                               SENTENCING RECOMMENDATION

       As an initial matter, the govemment requests that the Court adopt the guideline calculation

that is contained in the August 23,2018 Presentence Report ("PSR") (ECF. Doc 24) and not the

guideline calculation contained in the September 21,2018 PSR (ECF. Doc. 28). The August 23,

2018 PSR did not count the defendant's 2015 Assault with a Dangerous Weapon ("ADW") as a

crime of violence; this is consistent with the parties' plea negotiations. The parties had many

discussions over a period of weeks regarding the plea agreement in this case, and the plea letter

was sent to defense counsel on Wednesday, lune27,2018 (ECF Doc.             2l).   The previous Friday,

on June 22, 2018, the Court of Appeals held that ADW is a crime of violence (United States v.

Haight, 892 F.3d   l27l (D.C. Cir.   2018)), however, the decision was not part ofthe previously on-

going plea discussions. The govemment stands by its agreement and is not requesting the

defendant's 2015 conviction be counted as a crime of violence. Footnote I           I   on page 30 of the

September 21,2018 PSR also indicates the govemment's position that additional points not be

assessed for the 201 5   ADW conviction.

       For Counts One and Two, the August 23, 2018 PSR calculates the defendant's total offense
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level at 13, after combining the countsl and calculating the Muttipte Count Adjustment, as well as

the defendant's acceptance of responsibility (USSG $$ 3El.l(a) and                  3El.l(b)).   The defendant is

in Criminal History Category        III.   The defendant's guidelines range of imprisonment, as estimated

by the parties in the plea agreement and as reflected in the August 23,2018 PSR, is l8-24 months

for Counts One and Two. For Count Four, the PSR found that, according to the D.C. Sentencing

Guidelines, the offense is in Group           8.   The defendant is in Criminal History Category           C.   The

defendant's guidelines range of imprisonment, as estimated by the parties in the plea agreement

and as reflected in the August 23, 2018 PSR, is l4-32 months for Count Four. The govemment is

recommending a sentence at the high-end ofthe guideline range, which adequately addresses the

sentencing considerations of        Title l8 United States Code, Section 3553(a).

         All of the applicable factors       set forth   in   18 U.S.C. $ 3553(a), should be considered by this


Cou(.        See   United States v. Gall, 128 S.Ct. 586 (2007). These factors include the nature and

circumstances of the offense and the history and characteristics of the defendant (18 U.S.C.                       $


3553(a)(l)); the need for the sentence imposed to reflect the seriousness ofthe offense, to provide

just punishment for the offense, to afford adequate deterrence to criminal conduct, to protect the

public from further crimes ofthe defendant, and to provide the defendant with needed correctional

treatment (18 U.S.C.      S   3553(aX2));the Sentencing Guidelines and related Sentencing Commission

policy statements (18 U.S.C. S 3553(aX4) and (aX5)); and the need to avoid unwarranted sentence

disparities (18 U.S.C. S 3553(a)(6)).

             The defendant's behavior in this matter            -   failing to obey Court orders by leaving the

 halfivay house, illegally possessing a firearm, and fleeing from the police during a high-speed

 chase   -   merits punishment. The defendant has a violent criminal history dating back to when


[Counts One and Two do not group̀̀because thcy rcprcscnt separate harlns and are thus●         catcd as● vo distinct
groups''Sce August 23,2018 PSR,¶ 29
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    he was   just   18 years old, and each of his prior convictions involves a   firearm. August 23,2018

    PSRflfl 54,55. The defendant's 2015 conviction stemmed from an incident where the defendant

    pointed a gun at the victim and threatened to kilt him. August 23, 2018 PSR fl 55. In addition

    to the convictions, the defendant has three pending warrants out of Prince George's County

    Maryland for, among other charges, Attempted First Degree Murder, three counts of Armed

    Robbery, and numerous firearms offenses. August 23, 2018 PSR 1ilJ            68,69,70.    Less than two

    months after absconding the halfway house (where he was placed post-prison for the assault

    involving a firearm), the defendant resumed his criminal activities by shooting someone on

    December 23,2017.2 The defendant has given every indication that he is both not willing to

    follow court orders, and that he is willing to resort to violence     -   theses fwo factors prove that

    the defendant is a danger to the community.

             Consideration of the factors set forth in Section 3553(a) leads to the conclusion that a

    sentence   of incarceration is warranted, and that   a sentence at the high-end   ofthe guidelines, that

    is,24 months for Counts One and Two and 30 months for Count Four, is appropriate. The

    govemment has considered what would be an appropriate sentence for the defendant, balancing

    the seriousness ofthe offense, the need forjust punishment, the theat the defendant poses to the

    community, and affording adequate deterrence to criminal conduct. Based upon a consideration

    of all ofthe factors set forth in Title 18, United States Code, Section 3553(a), the govemment

    further recommends that while the defendant is incarcerated that he be placed in a facility that

    offers the programs recommended the PSR. See September 21,2018 PSR flfl 120, 121, 122,

    123,123a,124. The defendant's conditions ofsupervised release should also include vocational

    and educational courses, as well as drug testing. Finally, the govemment seeks forfeiture of the


2The defendant has not been convicted of this shooting, but a warrant - based on probable cause - was issued on
January 19, 20t8. $99 August 23, 2018 PSR, !J 68.
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weapon in this case, that the defendant agreed to as part ofhis plea agreement (ECF Doc. 21,

page 8).



                                                 Respectful ly submitted,

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